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                               IN THE UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

  TERRENCE M. GORE,                               §
                                                  §
                  Plaintiff,                      §
                                                  §
  V.                                              §            No. 3:23-cv-1199-E
                                                  §
  TRANS UNION LLC, ET AL.,                        §
                                                  §
                  Defendants.                     §

               ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
          RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE
              AND ORDER GRANTING ATTORNEY’S FEES AND COSTS

          The United States Magistrate Judge made findings, conclusions, and a recommendation in

  this case. (ECF No. 105). After extension, (ECF No. 107), Plaintiff Terrence M. Gore filed

  objections. (ECF No. 108). The District Court reviewed de novo those portions of the proposed

  findings, conclusions, and recommendation to which objection was made, and reviewed the

  remaining proposed findings, conclusions, and recommendation for plain error. Finding no error,

  the Court ACCEPTS the Findings, Conclusions, and Recommendation of the United States

  Magistrate Judge.

          Consequently, the Court enters the following orders granting Defendant Trans Union LLC

  (Trans Union)’s Motion for Award of Attorney’s Fees and Costs, (ECF No. 93):

  IT IS ORDERED THAT:

       1. The Court finds and concludes that the number of hours spent by Trans Union’s attorneys
          and paralegals was reasonable to properly defend Trans Union in this lawsuit and that the
          hourly rates charged by Trans Union’s attorneys’ and paralegals were appropriate and
          within the range of what is commonly charged in this District for similar legal services.
          (See ECF Nos. 95-1; 95-2). The Court finds and concludes that the total lodestar
          amount of $57,128.60 for Trans Union’s attorneys’ fees were reasonable and

  ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION
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         necessary for successfully defending Trans Union in this lawsuit.

     2. The Court has reviewed and considered the costs requested by Trans Union based upon
        the detailed billing records of Trans Union’s counsel and other information contained in
        the Declaration of Paul L. Myers filed by Trans Union and the Bill of Costs filed by Trans
        Union. (See ECF Nos. 95-1; 95-2). The Court finds and concludes that the total costs
        of $812.17 requested by Trans Union were actually incurred by Trans Union’s
        counsel and were reasonable and necessary for successfully defending Trans Union
        in this lawsuit.

     3. IT IS THEREFORE ORDERED that Trans Union is hereby awarded attorneys’ fees
        of $57,128.60 and costs of $812.17 against Plaintiff Terrence M. Gore, FOR WHICH
        LET EXECUTION ISSUE. IT IS FURTHER ORDERED THAT TRANS UNION SHALL
        BE ENTITLED TO ALL WRITS, PROCESSES, AND PROCEDURES FOR ENFORCEMENT OF THE
        AMOUNTS AWARDED IN THIS ORDER AGAINST PLAINTIFF AS FOR ANY MONETARY
        AWARD GRANTED IN A FINAL JUDGMENT OF THIS COURT.

         The Court further DENIES Trans Union’s motion for hearing as moot. (ECF No. 101). The

  Court DENIES Gore’s motion to extend to file response. (ECF No. 103).

         SO ORDERED this 10th day of March, 2025.




  ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION
  OF THE UNITED STATES MAGISTRATE JUDGE
  AND ORDER GRANTING ATTORNEY’S FEES AND COSTS                                          Page 2 of 2
